   Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 1 of 15 PageID #:491




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CAROLYN MILLER, neé Webber, on behalf of          )
herself and others similarly situated,            )
                                                  )
              Plaintiff,                          )
                                                  )       Civil Action No. 1:18-cv-04088
              v.                                  )
                                                  )
SOUTHWEST CREDIT SYSTEMS, L.P.                    )       Hon. Rebecca R. Pallmeyer
                                                  )
              Defendant.                          )

 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S CROSS MOTION FOR
SUMMARY JUDGMENT AGAINST DEFENDANT SOUTHWEST CREDIT SYSTEMS,
                            L.P.

        Plaintiff, Carolyn Miller, by and through her attorneys at Community Lawyers Group,
Ltd., pursuant to Federal Rule of Civil Procedure 56, submits this Memorandum of Law in
Support of her Motion for Summary Judgment as follows:




                                              i
        Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 2 of 15 PageID #:491




                                                     TABLE OF CONTENTS


INTRODUCTION ...........................................................................................................................1

FACTS .............................................................................................................................................1

THE FAIR DEBT COLLECTION PRACTICES ACT...................................................................2

LEGAL STANDARD......................................................................................................................3

ARGUMENT ...................................................................................................................................4

   I.      PLAINTIFF HAS SATISFIED THE PREREQUISITE REQUIREMENTS OF THE

   FDCPA.........................................................................................................................................4

           A. Plaintiff is a “Consumer” under the FDCPA .................................................................5

           B. Defendant Southwest Credit Systems, L.P. is a “Debt Collector” under the FDCPA....5

           C. The Alleged Debt is a “Debt” under the FDCPA ...........................................................6

   II.     DEFENDANT FAILED TO PROVIDE PLAINTIFF WITH NOTICE OF HER

CREDITORS, IN VIOLATION OF 15 U.S.C. § 1692G(A)(2) ......................................................6

CONCLUSION ..............................................................................................................................10




                                                                        ii
     Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 3 of 15 PageID #:491




                                                 TABLE OF AUTHORITIES

Cases

Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) ....................................................................4

Aribal v. GMAC Mortgage, LLC, No. 12 C 9735, 2013 WL 3894282 (N.D. Ill. July 29, 2013) ....7

Bartlett v. Heibel, 128 F.3D 497 (7TH CIR. 1996) .........................................................................7

Blow v. Bijora, Inc., 855 F.3D 793 (7th Cir. 2017) .........................................................................4

Braatz v. Leading Edge Recovery Solutions, LLC, et al., No. 11 C 3835, 2011 WL 9528479
(N.D. Ill. Oct. 20, 2011) ...................................................................................................................8

Cacace v. Lucas, 775 F. Supp. 502 (D. Conn. 1990).......................................................................3

Calumet River Fleeting, Inc. v. Int’l Union of Operating Eng’rs, Local 105, 824 F.3d 645
(7th Cir. 2016)..................................................................................................................................4

Cedillo v. Int’l Assoc. of Bridge & Structural Iron Workers, Local Union No. 1, 603 F.2d 7
(7th Cir. 1979)..................................................................................................................................3

Celotex Corp. v. Catrett, 477 U.S. 317 (1986) ................................................................................3

Durkin v. Equifax Check Servs., 406 F.3d 410 (7th Cir. 2005) .......................................................7

Evans v. Portfolio Recovery Assocs., LLC, No. 15 C 4498, 2016 WL 6833930
(N.D. Ill. Nov. 20, 2016)..................................................................................................................5

Gearing v. Check Brokerage Corp., 233 F.3d 469 (7th Cir. 2000) .................................................3

Gonzales v. Arrow Fin. Servs. LLC, 660 F.3d 1055 (9th Cir. 2011) ...............................................8

Janetos v. Fulton Friedman & Gullace, LLP, 825 F.3d 317 (7th Cir. 2016) .......................6,7,9,10

Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573 (2010) ..........................1

Johnson v. Revenue Mgmt. Corp., 169 F.3d 1057 (7th Cir. 1999) ..................................................7

Keele v. Wexler, 149 F.3d 589 (7th Cir. 1998) ................................................................................3

Keen v. Omnibus Int’l, Inc., No 98 C 3947, 1998 WL 485682 (N.D. Ill. Aug. 12, 1992) ..............7

Lox v. CDA, Ltd., 689 F.3d 818 (7th Cir. 2012) ..............................................................................8

Mace v. Van Ru Credit Corp., 109 F.3d 338 (7th Cir. 1997) ..........................................................3




                                                                       iii
     Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 4 of 15 PageID #:491




Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 106 S. Ct. 1348, 89 L. Ed.
2d 538 (1986) ...................................................................................................................................4

Osideko v. LJ Ross Assocs., Inc., 2019 WL 1915666 (N.D. Ill. April 30, 2019) ......................7,8,9

Simpson v. Safeguard Properties, LLC, No. 13 CV 02453, 2017 WL 4310674
(N.D. Ill. Sept. 28, 2017) .................................................................................................................4

Taylor v. Calvary Inv., LLC, 365 F.3d 572 (7th Cir. 2004) .............................................................7

Turner v. J.V.D.B. & Associates, Inc., 330 F.3d 991 (7th Cir. 2003) ..............................................3

Walls v. United Collection Bureau, Inc., et al., No. 11 C 6026, 2012 WL 1755751
(N.D. Ill. May 16, 2012) ..................................................................................................................8


Statutes

15 U.S.C § 1692 et seq.....................................................................................................................1
15 U.S.C § 1692a .............................................................................................................................1
15 U.S.C § 1692a(3) .....................................................................................................................4,5
15 U.S.C § 1692a(5) ........................................................................................................................6
15 U.S.C § 1692a(6) .....................................................................................................................2,5
15 U.S.C § 1692e ..........................................................................................................................1,3
15 U.S.C § 1692g ..........................................................................................................................1,7
15 U.S.C § 1692g(a) ...............................................................................................................1,6,7,9
15 U.S.C § 1692g(a)(2)................................................................................................1,4,6,7,8,9,10


Rules
Local Rule 56.1(a)(3) .......................................................................................................................1
Fed. R. Civ. P. 56(c) ........................................................................................................................3
Fed. R. Civ. P. 56(e) ........................................................................................................................4


Other Authorities
S. Rep. No. 382, 95th Cong., 1st Sess. 3 (1977), reprinted in 1977 USCCAN 1695, 1697 ............3




                                                                       iv
    Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 5 of 15 PageID #:491




                                     INTRODUCTION
       Plaintiff submits this Memorandum of Law in Support of her Motion for Summary

Judgment in her favor of her claims arising under the Fair Debt Collection Practices Act, 15

U.S.C. § 1692 et seq. (“FDCPA”).

       For the reasons set forth in this memorandum, Plaintiff’s motion, and Plaintiff’s Local

Rule 56.1(a)(3) Statement of Material Facts in Support of Motion for Summary Judgment on

Liability (hereinafter “Statement of Facts” or “SOF”), Plaintiff respectfully requests that this

court grant summary judgment to Plaintiff and against Defendant Southwest Credit Systems,

L.P. (“Defendant” or “SWC”).

       The FDCPA is a consumer protection statute, the purpose of which is “to eliminate

abusive debt collection practices by debt collectors[.]” Jerman v. Carlisle, McNellie, Rini,

Kramer & Ulrich LPA, 559 U.S. 573, 602 (2010) (quoting 15 U.S.C. § 1692(e)). Congress

created the FDCPA in response to the “abundant evidence of the use of abusive, deceptive, and

unfair debt collection practices by many debt collectors.” 15 U.S.C. § 1692(a).

       Defendant failed to effectively state the name of the creditor to whom the debt was owed,

in violation of 15 U.S.C. § 1692g(a)(2), when it sent Plaintiff a collection letter (“Letter”) on or

about March 29, 2018 that failed to adequately disclose the current creditor of the alleged debt.

(SOF ¶12).

                                              FACTS

       Plaintiff currently resides at 321 N. Liberty Street, Elgin, IL 60120. (SOF ¶1). She is

natural person who incurred debt for goods and services used for personal or household

purposes. (SOF ¶8). Defendant is a Texas Limited Partnership that transacts business in Illinois.

(SOF ¶2). Defendant is engaged in the business of a collection agency, using the mails and

telephone to collect consumer debts originally owed to others from Illinois consumers, and is

registered as a collection agency with the Illinois Department of Financial and Professional



                                                  1
    Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 6 of 15 PageID #:491




Regulation. (SOF ¶¶4-5). Defendant is a “debt collector” as that term is defined by the Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. §1692a(6), because it regularly collects

defaulted consumer debts. (SOF ¶3).

        Plaintiff signed an agreement with Platinum Protection, LLC on July 30, 2011. (SOF ¶6).

Although Plaintiff signed an agreement with Platinum Protection, Monitronics Funding, LP and

Monitronics International, Inc. were listed in the Alarm Monitoring Agreement as entities that

Platinum Protection, LLP “may assign or subcontract all or any portion of” the agreement to.

(SOF ¶7). Plaintiff sent a letter to “Platinum Protection or Monitronics” on October 19, 2014,

cancelling the “security service” outlined in the agreement. (SOF ¶9). At that time, Monitronics

International, Inc. (“Monitronics”) was using its full name to do business with consumers. (SOF

¶10). SWC subsequently began collecting the alleged debt. (SOF ¶11). On or about March 29,

2018, SWC sent a Letter to Plaintiff regarding the alleged debt. (SOF ¶12). The Letter was

SWC’s initial communication with Plaintiff. (SOF ¶13). The Letter communicated information

concerning the debt, including account numbers and total balance due on the alleged debt. (SOF

¶14). The Letter listed “MONI” as the “Creditor.” (SOF ¶15). Prior to sending the Letter to

Plaintiff, Defendant was informed that Monitronics had rebranded as MONI. (SOF ¶17).

Defendant did not include any information in the Letter sent to Plaintiff that Monitronics had

been rebranded as MONI. (SOF ¶18). In addition, there is no such entity named MONI

registered with the State of Illinois to do business with Illinois consumers. (SOF ¶16). After

receiving the March 29, 2018 Letter from SWC, Plaintiff was confused and did not know the

current creditor to whom the debt was owed (SOF ¶19). Defendant understands that it up to the

debt collector to list the current creditor to whom the debt is owed clearly and concisely. (SOF

¶20).




                                                 2
    Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 7 of 15 PageID #:491




         Given that there is no genuine issue of material fact, and for the reasons stated herein,

Plaintiff respectfully requests this Court grant her Motion for Summary Judgment.

                     THE FAIR DEBT COLLECTION PRACTICES ACT

         In enacting the FDCPA, Congress recognized the universal agreement among scholars,

law enforcement officials, and even debt collectors that the “number of persons who willfully

refuse to pay just debts is minuscule [sic]…[The] vast majority of consumers who obtain credit

fully intend to repay their debts. When default occurs, it is nearly always due to an unforeseen

event such as unemployment, overextension, serious illness, or marital difficulties or divorce.” S.

Rep. No. 382, 95th Cong., 1st Sess. 3 (1977), reprinted in 1977 USCCAN 1695, 1697. The

FDCPA states that its purpose, in part, is “to eliminate abusive debt collection practices by debt

collectors.” 15 U.S.C. § 1692e. The Act is designed to protect consumers from unscrupulous

collectors, whether or not there is a valid debt. Mace v. Van Ru Credit Corp., 109 F.3d 338 (7th

Cir. 1997); Keele v. Wexler, 149 F.3d 589, 594 (7th Cir. 1998) (the FDCPA broadly prohibits

unfair or unconscionable collection methods; conduct which harasses, oppresses or abuses any

debtor; and any false, deceptive or misleading statements, in connection with the collection of a

debt).

         Plaintiff need not prove intent, bad faith, or negligence in an FDCPA case. Gearing v.

Check Brokerage Corp., 233 F.3d 469, 472 (7th Cir. 2000). The “FDCPA is a strict liability

statute,” and “proof of one violation is sufficient to support summary judgment for the plaintiff.”

Cacace v. Lucas, 775 F. Supp. 502, 505 (D. Conn. 1990); accord, Turner v. J.V.D.B. &

Associates, Inc., 330 F.3d 991, 995 (7th Cir. 2003); Gearing, 233 F.3d at 472.

                                       LEGAL STANDARD

         Summary judgment is proper "if the pleadings, depositions, answers to interrogatories,

and admissions on file, together with the affidavits, if any, show that there is no genuine issue as




                                                   3
       Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 8 of 15 PageID #:491




to any material fact and that the moving party is entitled to judgment as a matter of law." Fed. R.

Civ. Proc. 56(c). The moving party bears the burden of showing the absence of a genuine issue

of material fact. Celotex Corp. v. Catrett, 477 U.S. 317 (1986); Cedillo v. Int'l Assoc. of Bridge

& Structural Iron Workers, Local Union No. 1, 603 F.2d 7, 10 (7th Cir. 1979). Once the movant

has met this burden, the non-moving party cannot simply rest on the allegations in the pleadings,

but, "by affidavits or as otherwise provided for in [Rule 56], must set forth specific facts showing

that there is a genuine issue for trial." Fed. R. Civ. P. 56(e). A "genuine issue" in the context of a

motion for summary judgment is not simply a "metaphysical doubt as to the material facts."

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct. 1348, 89

L. Ed. 2d 538 (1986). The substantive law of the issues raised by the claims asserted in the

complaint determines what is "material" for purposes of a motion for summary judgment.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

         The ordinary standards for summary judgment remain unchanged on cross-motions for

summary judgment.” Simpson v. Safeguard Properties, LLC, No. 13-CV-02453, 2017 WL

4310674, at *3 (N.D. Ill. Sept. 28, 2017); quoting Blow v. Bijora, Inc., 855 F.3d 793, 797 (7th

Cir. 2017) (citing Calumet River Fleeting, Inc. v. Int'l Union of Operating Eng'rs, Local 150, 824

F.3d 645, 647–48 (7th Cir. 2016)).

         By these standards, Plaintiff's motion for summary judgment should be granted.

                                           ARGUMENT

         Defendant SWC failed to properly identify the creditor to whom the alleged debt was

owed, in violation of 15 U.S.C. § 1692g(a)(2). (SOF ¶¶14-18).

  I.     Plaintiff Has Satisfied the Prerequisite Requirements of the FDCPA

   For a plaintiff to succeed on a claim under the FDCPA, the plaintiff must be a “consumer,”

and the defendant must be a “debt collector” that sought to collect a “debt” from the plaintiff, as




                                                  4
    Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 9 of 15 PageID #:491




these terms are defined by the FDCPA. By the evidence, it is clear that all three of these

requirements are met.

       A. Plaintiff is a “Consumer” under the FDCPA

Section 1692a(3) provides the following definition of “consumer”:

   . . . any natural person obligated or allegedly obligated to pay any debt.

   15 U.S.C. § 1692a(3).

Here, Plaintiff is a natural person allegedly obligated to pay the alleged debt to SWC. (SOF ¶1).

       B. Defendant Southwest Credit Systems, L.P. is a “Debt Collector” Under the
       FDCPA.

Section 1692a(6) provides the following definition for “debt collector”:

          . . . any person who uses any instrumentality of interstate commerce or
          the mails in any business the principal purpose of which is the
          collection of any debts, or who regularly collects or attempts to collect,
          directly or indirectly, debts owed or due or asserted to be owed or due
          another. Notwithstanding the exclusion provided by clause (F) of the
          last sentence of this paragraph, the term includes any creditor who, in
          the process of collecting his own debts, uses any name other than his
          own which would indicate that a third person is collecting or
          attempting to collect such debts. For the purpose of section 1692f(6) of
          this title, such term also includes any person who uses any
          instrumentality of interstate commerce or the mails in any business the
          principal purpose of which is the enforcement of security interests. . . .

15 U.S.C. § 1692a(6).

       Defendant SWC is a licensed debt collection agency in Illinois. (SOF ¶5); see Evans v.

Portfolio Recovery Assocs., LLC, No. 15 C 4498, 2016 WL 6833930, at *2 (N.D. Ill. Nov. 20,

2016) (the court granted summary judgment in favor of plaintiff. In doing so, it held that the

defendant was a debt collector under the FDCPA, in part because of the simple fact that they

were a licensed collection agency in Illinois). “The term ‘debt collector’ means any person who

uses any instrumentality of interstate commerce or the mails in any business the principal

purpose of which is the collection of debts…” 15 U.S.C. §1692a(6). Defendant is engaged in the




                                                 5
   Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 10 of 15 PageID #:491




business of a collection agency, using the mails and telephone to collect consumer debts

originally owed to others. (SOF ¶4). Thus, Defendant SWC is a “debt collector” under the

FDCPA.

       C. The Alleged Debt is a “Debt” Under the FDCPA.

Section 1692a(5) provides the following definition for “debt”:

       . . . any obligation or alleged obligation of a consumer to pay money
       arising out of a transaction in which the money, property, insurance, or
       services which are the subject of the transaction are primarily for
       personal, family, or household purposes, whether or not such obligation
       has been reduced to judgment.

15 U.S.C. § 1692a(5).

       Plaintiff is a natural person who used the account associated with the alleged debt solely

for personal purposes or household purposes. (SOF ¶¶1, 8). Plaintiff did not use the account to

operate any business nor did she take the credit on behalf of any business. (SOF ¶8). Given that

Plaintiff has established, as a matter of law, that the debt was incurred for personal purposes and

SWC has produced no evidence to the contrary, the alleged debt is therefore a “debt” under the

FDCPA.

 II.   Defendant Failed to Provide Adequate Notice to Plaintiff of Her Current Creditor,

       in violation of 15 U.S.C. § 1692g(a)(2)

       15 U.S.C. § 1692g(a)(2) of the FDCPA provides as follows:

          (a) Notice of debt; contents

          Within five days after the initial communication with a consumer in
          connection with the collection of any debt, a debt collector shall, unless
          the following information is contained in the initial communication or
          the consumer has paid the debt, send the consumer a written notice
          containing—

                  . . . (2) the name of the creditor to whom the debt is owed. . . .




                                                 6
   Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 11 of 15 PageID #:491




       Section 1692g(a) requires debt collectors to disclose specific information, including the

name of the current creditor, in certain written notices they send to consumers. Janetos v. Fulton

Friedman & Gullace, LLP, 825 F.3d 317, 319 (7th Cir. 2016). The test for whether the collection

letter violates §1692g(a) is whether the letter, taken as a whole, would confuse the

unsophisticated consumer about his or her rights. See Bartlett v. Heibl, 128 F.3d 497, 500 (7th

Cir. 1997); Keen v. Omnibus Int’l, Inc., No. 98 C 3947, 1998 WL 485682 (N.D. Ill. Aug. 12,

1998); Aribal v. GMAC Mortgage, LLC, No. 12 C 9735, 2013 WL 3895282 (N.D. Ill. July 29,

2013). When making §1692g claims, Plaintiff must show that the collection letter sent would be

confusing to a “significant fraction of the population.” Taylor v. Cavalry Inv., LLC, 365 F.3d

572, 574-75 (7th Cir. 2004). An FDCPA plaintiff is required to “show that the challenged

‘language of the letters unacceptably increases the level of confusion.’” Durkin v. Equifax Check

Services, 406 F.3d 410, 415 (7th Cir. 2005), quoting Johnson v. Revenue Mgmt. Corp., 169 F.3d

1057, 1060 (7th Cir. 1999). If a Plaintiff shows that a letter fails to disclose the required

information clearly, the letter violates the FDCPA without further proof of confusion. Janetos v.

Fulton Friedman & Gullace, LLP, 825 F.3d 317, 319 (7th Cir. 2016). Section 1692g(a) does not

have an additional materiality requirement, express or implied. Id.

       SWC failed to clearly identify the creditor for whom they were attempting to recover the

alleged debt in its initial communication with Plaintiff. The instant case is distinguishable from

Osideko v. LJ Ross Assocs., Inc., 2019 WL 1915666 (N.D. Ill. April 30, 2019). In Osideko, the

defendant sent a letter to the plaintiff that stated that the name of the current creditor was “Wec

(2134) (PEOPLE GAS & COKE COMPANY).” Id. *1. The plaintiff argued that he was

confused and could not determine who the current creditor was, Wec or People Gas & Coke

Company. Id. The District Court found that §1692g(a)(2) was not violated because the collection

letter “included a commonly-used acronym or shortened name, ‘Wec,’ and the name [plaintiff]




                                                  7
   Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 12 of 15 PageID #:491




would be more likely to recognize because it is the one under which Wec Energy Group usually

transacts with him, ‘People Gas & Coke Company.’” Id. at *2.

       Unlike in Osideko, Defendant sent a Letter that did not include the name of the entity

Plaintiff transacted with, Platinum Protection, LLC, nor did it include the name Monitronics

International, Inc. (SOF, ¶12). Instead, on the right side of the Letter, it simply states the name

“MONI” under “Creditor.” (SOF ¶15). In addition, Defendant did not add clarifying information

as to MONI’s connection to Plaintiff in the body of the Letter. (SOF ¶18). Any unsophisticated

consumer who received such a Letter would have been confused as to whom the debt was owed;

Plaintiff definitely was. Defendant’s Letter, thus, failed to clearly identify the creditor to whom

the debt is currently owed, in violation of 15 U.S.C. §1692g(a)(2). See Braatz v. Leading Edge

Recovery Solutions, LLC, et al., No. 11 C 3835, 2011 WL 9528479 (N.D. Ill. Oct. 20, 2011);

Walls v. United Collection Bureau, Inc., et al., No. 11 C 6026, 2012 WL 1755751 (N.D. Ill. May

16, 2012).

       In Dickenson v. Townside T.V. & Appliance, Inc., 770 F. Supp. 1122, 1128 (S.D.W. Va.

1990), the court enumerated principles of creditor identification that should apply here. In

Dickenson, a creditor attempted to collect a debt using one of its own business names, but that

name was different from the name it used when doing business with consumers. The court held,

“a creditor may use any established name under which it is known, to collect its debts from a

particular debtor as long [sic] it has consistently dealt with such debtor since the beginning of the

credit relationship at issue under such name. 7” Id. at 1128. In a footnote, the court expanded:

               There may of course be situations where a creditor undergoes a
               permissible name change during the course of a credit relationship.
               It appears to this Court that such a creditor would not per se fall
               within the realm of the FDCPA when attempting to collect its
               debts under its new name as long as it can establish that it had
               informed the debtor at issue of its name change and thus that the
               debtor understood that he/she was still dealing with the same
               entity.



                                                  8
   Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 13 of 15 PageID #:491




               Id. at fn 7.

       SWC was aware of Monitronic’s rebranding into MONI. (SOF ¶17). SWC’S

representative, Jeff Hazzard, conceded that “it would have, hypothetically, been possible” to

include a statement that explained the relationship between MONI and Monitronics under

“CREDITOR.” (SOF ¶21). Defendant surely had options: “MONI/Monitronics,” “MONI

(Monitronics),” etc. SWC did not clarify the connection between MONI and Monitronics and, as

a result, Plaintiff was confused as to whom the creditor the debt was allegedly owed. (SOF ¶¶18,

19). As Mr. Hazzard conceded, it is up to SWC to list the creditor in a clear manner in its

correspondence with consumers. (SOF ¶20). As such, SWC is responsible if confusion arises

from communication they sent. Plaintiff was confused and unable to clearly determine who the

current creditor was simply by looking at the Letter sent by Defendant, therefore, Defendant

violated 15 U.S.C. § 1692g(a)(2).

       The burden is not on consumers to seek clarifying information on what the words within

collection letters mean. Lox v. CDA Ltd., 689 F.3d 818, 821 (7th Cir. 2012), quoting Gonzales v.

Arrow Fin. Servs., LLC, 660 F.3d 1055, 1062 (9th Cir. 2011). (“‘[C]onsumers are under no

obligation to seek explanation of confusing…language in debt collection letters.’”). §1692g(a) of

the FDCPA requires debt collectors to give consumers a set list of pertinent information. Janetos

v. Fulton Friedman & Gullace, LLP, 825 F.3d 317, 319 (7th Cir. 2016). §1692g(a)(2),

specifically, requires that debt collectors provide customers with “the name of the creditor to

whom the debt is owed.” However, even if an unsophisticated consumer, like Plaintiff, took the

extra step of conducting a Google search for “Illinois” and “MONI,” they would not readily find

that MONI and Monitronics are the same.

       The fact that MONI is not a registered entity in Illinois would have made an online search

for MONI even more difficult. (SOF ¶16). The Letter did not even contain any information that



                                                 9
   Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 14 of 15 PageID #:491




suggests what type of entity MONI is supposed to be (such as LLC, Inc., etc). (SOF ¶15). The

Letter, therefore, creates a level of confusion that is unacceptable, in violation of §1692g(a)(2).

          Plaintiff signed an agreement with Platinum Protection, LLC on July 30, 2011. (SOF ¶7).

Even though Monitronics was mentioned in the document, it was written in small font and in a

location that suggested it was not worth remembering. (SOF ¶7). Monitronics was not known as

MONI at the time this document was signed. (SOF ¶10). Plaintiff requested that the service

provided by “Platinum Protection or Monitronics” be discontinued in October 19, 2014. (SOF

¶9). This letter was sent nearly two years before Monitronics rebranded as MONI. (SOF ¶¶9-

10). Plaintiff had no reason to know of Monitronics’ rebranding in 2016, as she terminated her

agreement with them in 2014 and understood her account to be paid in full. (SOF ¶9). The Letter

was confusing because it did not clearly state the name of the creditor to whom the debt is owed.

Defendant, therefore, violated §1692g(a)(2).

                                          CONCLUSION

          Plaintiff, Carolyn Miller, respectfully requests that this Court grant summary judgment in

her favor on her FDCPA claims and for any other or further relief this Court deems just and

proper.

                                                       Respectfully submitted,


                                                       By: /s/ Celetha Chatman
                                                       One of Plaintiffs’ Attorneys
Celetha Chatman
Michael Wood
Community Lawyers Group, Ltd.
20 N. Clark Street, Suite 3100
Chicago, IL 60602
Ph: (312)757-1880
Fx: (312)265-3227
cchatman@communitylawyersgroup.com
mwood@communitylawyersgroup.com




                                                  10
   Case: 1:18-cv-04088 Document #: 52 Filed: 05/13/19 Page 15 of 15 PageID #:491




                                CERTIFICATE OF SERVICE

         I, Celetha Chatman, an attorney, hereby certify that on May 13, 2019, I electronically
filed the foregoing document using the CM/ECF system, which will send notification of such
filing to all attorneys of record.

 Dated: May 13, 2019                              Respectfully submitted,


                                                  By:        /s/ Celetha Chatman




                                                11
